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O'BRIEN, J., reads for affirmance.
All concur, except GRAY, J., not sitting.
Order reversed and judgment on verdict affirmed.